                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )       Case No. 1:10-CR-110
 v.                                            )
                                               )
 MARY REVELS                                   )       COLLIER/CARTER


                              REPORT AND RECOMMENDATION

        A March 4, 2011, letter from Joe Keffer, Warden of the Federal Bureau of Prisons,

 Federal Medical Center at Carswell and Forensic Evaluation of defendant were received by the

 undersigned Court. It is the opinion of the examiner that defendant is presently competent to

 stand trial, is fully aware of the nature and potential consequences of the pending criminal

 charges, and is also capable of properly assisting in her defense.

        A waiver of competency hearing was filed on July 11, 2011 (Doc. 342). The Court

 RECOMMENDS on the basis of the waiver and the report that defendant Mary Revels be found

 competent to stand trial.1


                                               s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




        1
         Any objections to this Report and Recommendation must be served and filed within
 fourteen (14) days after service of a copy of this recommended disposition on the objecting party.
 Such objections must conform to the requirements of Rule 59(b)(2) of the Federal Rules of
 Criminal Procedure. Failure to file objections within the time specified waives the right to
 appeal the District Court's order. Thomas v. Arn, 474 U.S. 140, 88 L.Ed.2d 435, 106 S.Ct. 466
 (1985). The district court need not provide de novo review where objections to this report and
 recommendation are frivolous, conclusive or general. Mira v. Marshall, 806 F.2d 636 (6th Cir.
 1986). Only specific objections are reserved for appellate review. Smith v. Detroit Federation of
 Teachers, 829 F.2d 1370 (6th Cir. 1987).


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